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IN THE UNITED STATES DISTRICT COURT rizzo ar __ c.c.
FOR THE WESTERN DISTRICT OF TENNESSEE

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r.

JosEPH LlBERTO, ) f,~;*,‘;§“§§; im §§;’§,p§|g
)
Piaintiff, )
)

v. ) No. 01-2870

)
sHELBY CoUNTY, GovERNMENT, )
A.C. GILLEss, MARRON HoPKINS, )
and JIM RoUT, )
)
Defendants. )

 

ORDER DENYING DEFENDANTS’ MOTION TO DISMISS

 

This matter is before the Court on the motion of Defendant A.C. Gilless (“Defendant”), deceased,
through his counsel of record, to dismiss the action as to Defendant. For the reasons stated herein, the
Court DENIES Defendant’s motion to dismiss

On December 6, 2004, Defendant, through his counsel of record, filed a Suggestion of Death, as
required by Rule 25(a) of the Federal Rules of Civil Procedure. Neither Plaintiff nor Defendant’s
representatives have filed a motion for substitution. On March 24, 2005, Defendant filed a motion to
dismiss, asserting that Plaintiff did not file a motion for Substitution Within ninety days of the filing of the
Suggestion of Death, as required by Rule 25. Thus, Defendant contends that the lawsuit as to Det`endant
must be dismissed

Rule 25 of the Federal Ru]es of Civil Procedure states in pertinent part:

(l) lf a party dies and the claim is not thereby extinguished, the court may order substitution

of the proper parties. The motion for substitution may be made by any party or by the

successors or representatives ofthe deceased party and, together With the notice ofhearing,

shall be served on the parties as provided in Rule 5 . . . and may be served in any judicial
district Unless the motion for substitution is made not later than 90 days after the death

Thls document entered on the docket sheet fn compliance
with Hula 58 and/cr 79(3) FRCP on y

 

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is suggested upon the record by service of a statement of the fact of the death as provided

herein for the service of the motion, the action shall be dismissed as to the deceased party.
Fed.R.Civ.P. 25(a)(1). ln this case, a formal Suggestion of Gilless’ Death was filed in this Court on
December 6, 2004 and Was served on counsel for Plaintiff in accordance with Rule 25(a)(1). Plaintiff
made no motion to substitute Gilless’ estate as a party Within the ninety-day period after the filing of the
Suggestion of Death. Furthermore, Plaintiff has not responded to Defendant’s motion to dismiss. Thus,
Plaintiff has not satisfied the requirements of Rule 25 .

However, before the claims against Defendant can be dismissed, the Court must first determine

whether the Suggestion of Death filed by Defendant Was sufficient Dietrich v. Burrows, 164 F.R.D. 220,

 

222 (N.D. Ohio 1995). ln Dietrich, the Court held that if the Suggestion of Death does not identify the
representative that the Plaintiff should substitute, the Suggestion of Death “is itself infirm” and Plaintiff’s
ninety days cannot begin to run. EL “The law is Well settled that the Suggestion of Death must identify
the successor or representative of the deceased . . . The Suggestion of Death filed in this case does not
do so. . . . The 910-day period never began to run because no sufficient Suggestion of Death Was filed With
the Court.” g (internal citations omitted). §§ _al&, Smith v. Planas, 151 F.R.D. 547, 549 (S.D.N.Y.
1993) (holding that Suggestion of Death Was invalid and did not invoke the 90-day limit because it did not
identify the representative Who could be substituted for the decedent, and dismissing Without prejudice
Plaintiff’ s motion for substitution); McSurely v. McClellan, 753 F.2d 88, 98 (D.C. Cir. 1985) (holding that
the 90-day time limit did not begin to run until Defendant named a representative for the estate of the
decedent); Rende v. Kay, 415 F.2d 983, 986 (D.C. Cir. 1969) (“No injustice results from the requirement

that a suggestion of death identify the representative or successor of an estate Who may be substituted as

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a party for the deceased before Rule 25(3)(1) may be invoked by those who represent or inherit from the
deceased.”).

ln the instant case, Defendant’s Suggestion ofDeath did not identify a representative for the estate
of Gilless. Thus, the Suggestion of Death itself was insufficient and did not trigger the 90-day limit for
Plaintif`f’ s motion for substitution Thus, Plaintiff’ s time frame for filing a motion for substitution has not
yet begun.

Accordingly, Defendant’s motion to dismiss is DENIED.

IT IS SO ORDERED this [}¢ day ofJune, 2005.

 

B RNICE BO E DONALD
U TED STATE DIS'I`RICT JUDGE

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 62 in
case 2:01-CV-02870 was distributed by f`aX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

